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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA

                          v.
                                         Criminal No. 24-cr-10364-IT

TANIA FERNANDES-ANDERSON,

                       Defendant.


                FINAL REPORT IN LIEU OF FINAL CONFERENCE

Cabell, U.S.M.J.

     Defendant      Tania      Fernandes-Anderson     has   been   charged     with

several counts of wire fraud and one count of theft concerning

programs receiving federal funds.              On April 8, 2025, the parties

submitted a status report indicating that the defendant intended

to plead guilty, had signed a plea agreement, and requested a date

for a Rule 11 change of plea hearing.            The court has since set the

Rule 11 hearing for May 5, 2025, at 2:30 p.m.

     Accordingly, no further proceedings are necessary before me

and I report as follows in reporting the matter to the district

judge:     (1) discovery is complete; (2) the defendant will not file

any Rule 12(b) motions; and (3) the court has issued orders in the

aggregate excluding the time from the defendant’s arraignment to

May 5, 2025.      Accordingly, no time will have elapsed for purposes
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of the Speedy Trial Act when and if the Rule 11 hearing is held as

scheduled.

     There are no other matters specific to this defendant that

would assist the district judge upon transfer.



                                            /s/ Donald L. Cabell
                                            DONALD L. CABELL, U.S.M.J.

DATED:     April 14, 2025




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